                                 Case 5:22-cv-01656-NC Document 14 Filed 04/11/22 Page 1 of 2




                  1   John Cannizzaro (SBN 305047)
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                      Fax: 614-228-4847
                  5
                      Counsel for Defendant/Counterclaim-Plaintiff
                  6   Arlen Ness Enterprises, Inc.

                  7

                  8                           IN THE UNITED STATES DISTRICT COURT
                                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
                  9                                     SAN JOSE DIVISION

                 10    HTTMT GROUP LLC, SECRET                              Case No.: 5:22-cv-01656 – NC
                       EQUIPMENT INC., XKH GROUP INC.,
                 11    and HK MOTO INC.,                                    NOTICE OF APPEARANCE OF
                                                                            COUNSEL
                 12                      Plaintiffs,

                 13            v.

                       ARLEN NESS ENTERPRISES, INC.,
ICE MILLER LLP




                 14

                 15                      Defendant.

                 16    ARLEN NESS ENTERPRISE, INC.,

                 17                      Counterclaim-Plaintiff,

                 18            v.

                 19    HTTMT GROUP LLC, SECRET
                       EQUIPMENT INC., XKH GROUP INC.,
                 20    HK MOTO INC.,

                 21                      Counterclaim-Defendants.

                 22

                 23                               NOTICE OF APPEARANCE OF COUNSEL
                 24           PLEASE TAKE NOTICE that John C. Cannizzaro of the law firm Ice Miller LLP hereby
                 25   appears as counsel for Arlen Ness Enterprises, Inc. pursuant to Federal Rule of Civil Procedure 5,
                 26

                 27

                 28                              5:22-cv-01656 – Notice of Appearance of Counsel
                      4880-0888-4251.1
                                 Case 5:22-cv-01656-NC Document 14 Filed 04/11/22 Page 2 of 2




                  1   and requests that all notices given or required to be given and all papers served or required to be

                  2   served in the above-captioned proceeding be given to and served upon the following:

                  3                      John C. Cannizzaro
                                         ICE MILLER LLP
                  4                      250 West Street, Suite 700
                                         Columbus, OH 43215
                  5
                                         Telephone: (614) 462-1070
                  6                      Email: john.cannizzaro@icemiller.com

                  7           PLEASE TAKE FURTHER NOTICE that the foregoing request includes that John C.
                  8   Cannizzaro be added to the CM/ECF electronic notice list for the above-referenced proceeding.
                  9
                 10   Dated: April 11, 2022                         Respectfully submitted,
                 11                                                 /s/ John C. Cannizzaro
                                                                    John Cannizzaro (SBN 305047)
                 12
                                                                    Ice Miller LLP
                 13                                                 250 West St., Suite 700
ICE MILLER LLP




                                                                    Columbus, OH 43215
                 14                                                 Tel: 614-462-2700
                                                                    Fax: 614-228-4847
                 15                                                 Email: John.Cannizzaro@icemiller.com
                 16
                                                                    Counsel for Arlen Ness Enterprises, Inc.
                 17

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                                                5:22-cv-01656 – Notice of Appearance of Counsel
                      4880-0888-4251.1                                 2
